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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

 In re:                                                      Chapter 11


 FTX TRADING LTD., et al.,                                   Case No. 22-11068 (JTD)

 Debtors.
                                                             (Jointly Administered)


 FTX TRADING LTD.                   and     MACLAURIN
 INVESTMENTS LTD.,

 Plaintiffs,

                            -against-                        Adv. Pro. No. 23-50437 (JTD)

 LOREM IPSUM UG, PATRICK GRUHN,
 ROBIN MATZKE, and BRANDON WILLIAMS,

                                        Defendants.


                                        CERTIFICATE OF SERVICE


                     I, Peter J. Keane, hereby certify that on the 14th day of November, 2023, I caused a

copy of the following document(s) to be served on the individuals on the attached service list(s) in

the manner indicated:


                     DEFENDANTS PATRICK GRUHN, ROBIN MATZKE, AND LOREM
                     IPSUM UG’S JOINDER IN MOTION FOR A PROTECTIVE ORDER
                     STAYING DISCOVERY


                                                  /s/ Peter J. Keane
                                                  Peter J. Keane (DE Bar No. 5503)




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FTX v. Lorem Service List
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